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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiff,                                  8:17CR314

       vs.
                                                                  ORDER
JOSE RODOLFO-CHAIDEZ,
IDELFONSO TAPIA-RODRIGUEZ,
ENRIQUE SERNA, and MINERVA
GARCIA,

                     Defendants.


      This matter is before the Court on the government’s Motion to Dismiss Forfeiture
Allegation (Filing No. 128). Upon careful review of the government’s motion and the
record in this case, the Court finds the motion should be granted. Accordingly,

      IT IS ORDERED:
      1.     The government’s Motion to Dismiss Forfeiture Allegation (Filing No. 128)
             is granted.
      2.     The Forfeiture Allegation of the Indictment (Filing No. 1) is dismissed.


      Dated this 7th day of August, 2018.

                                                 BY THE COURT:



                                                 Robert F. Rossiter, Jr.
                                                 United States District Judge
